                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,                              No. 22-CR-1 CJW-MAR
                Plaintiff,
 vs.                                             ORDER SETTING SENTENCING
                                                       HEARING AND
 DOUG HARGRAVE,                                   ESTABLISHING DEADLINES
                Defendant.
                                _____________________
       The Court is in receipt of the Final Presentence Investigation Report for the above-
named defendant.     The sentencing hearing is scheduled before the undersigned for
Friday, November 4, 2022, at 1:00 p.m.; United States Courthouse, Courtroom 3, 111
Seventh Avenue SE, Cedar Rapids, Iowa. The amount of time allotted for the sentencing
hearing is based on the estimated duration provided by United States Probation in the
Addendum to the Final Presentence Report. If either party believes additional time
will be necessary, that party must notify my chambers immediately via email,
(Sali_vanweelden@iand.uscourts.gov) with a copy to the opposing party.

IT IS ORDERED:

1.     If there are no sentencing issues, the parties must provide via email to chambers a
       joint notice to the Court and are not required to file any sentencing related brief
       or memorandum.

2.     If there are sentencing issues, the parties must meet and confer regarding the
       contested issues at least twenty-one (21) calendar days before the sentencing
       hearing. If the parties resolve contested issues in the meet and confer conference,
       the parties must provide via email to chambers a joint notice to the Court and are
       not required to file any sentencing related brief or memorandum.




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3.   If the sentencing issues are not resolved, the parties must file a sentencing
     memorandum at least seven (7) calendar days before the sentencing hearing.
     Sentencing memoranda must contain the following:

     a.    A list of all witnesses the party expects to call to testify at the sentencing
           hearing.

     b.    A list of all exhibits the party expects to offer at the sentencing hearing.
           Copies of any exhibits must be filed as electronic attachments to the party’s
           sentencing memorandum or motion. If the exhibits comprise more than 20
           pages, the party must provide the Court with a hard copy of the exhibits in
           a three-ring binder.

     c.    A list of all sentencing issues the party will ask the Court to decide,
           supported by citation to all statutes, case law and guideline sections relied
           on in support of the party’s position.

     d.    Legal authority to support each argument as to each contested guideline
           calculation. If the parties agree as to the Total Offense Level but disagree
           about how the Total Offense Level was calculated, each party’s sentencing
           memorandum must still set forth the differing positions and legal
           authorities.

     e.    An itemized and annotated statement (with any supporting documentation)
           explaining how the party arrived at the calculation of any contested
           restitution figures.

     f.    Any response to a sentencing motion, memorandum or brief must be filed
           at least three (3) days before the sentencing hearing. If the party filing the
           response believes that additional witnesses or exhibits are necessary to
           support the response, that party must disclose those witnesses and exhibits




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            to the opposing party with a copy of the witness list emailed to the Court.
            Copies of the additional exhibits shall be filed as electronic attachments to
            the response.

4.   If a party expects to offer the testimony of in-custody witnesses, the party must
     provide notice to the United States Marshal at least fourteen (14) calendar days
     before the sentencing hearing.

5.   If a party wants the United States Marshal to serve subpoenas on witnesses, the
     party must deliver those subpoenas to the United States Marshal at least twenty-
     one (21) calendar days before the sentencing hearing.

6.   If a party does not file its sentencing memorandum in a timely manner or if the
     sentencing memorandum fails to cite legal authority to support the party’s
     positions, the Court will deem that party has waived any issues the party previously
     raised in the party’s objections to the presentence report.

7.   The Court will accept and consider letters in support of defendant only if they are
     electronically filed as exhibits pursuant to Administrative Order No. 17-AO-005-
     P. The Court will not consider letters sent directly to chambers via email or
     otherwise.

     IT IS SO ORDERED this 22nd day of August, 2022.



                                        _________________________
                                        C.J. Williams
                                        United States District Judge
                                        Northern District of Iowa




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